        Case 5:01-cv-04158-RDR-JPO Document 154 Filed 01/26/05 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS


SOUTHWESTERN BELL TELEPHONE
COMPANY,

                                 Plaintiff,

-vs-                                                                               Case No. 01-4158-RDR

STATE CORPORATION COMMISSION OF
THE STATE OF KANSAS, et al

                                 Defendants.


                                         JUDGMENT IN A CIVIL CASE

Decision by Court.      This action came to trial or hearing before the Court. The issues have been tried or heard and
                        a decision has been rendered.


          IT IS ORDERED AND ADJUDGED Pursuant to the Memorandum and Order entered electronically January
26, 2005 that plaintiff, Southwestern Bell Telephone Company, take nothing of defendants, State Corp. Commission of
State of KS, Sprint Corp., E.Spire Communications, Inc., MCI Worldcom Communications, Inc., Mpower Communications
Central Corp., TCG Kansas City Inc., AT & T Communications of The Southwest, Inc., Birch Kansas Holdings, Inc. d/b/a
Birch Telecom of Kansas Inc., Citizens’ Utility Ratepayer Board, Bluestem Telephone Company, Blue Valley Tele-
Communications Inc., Council Grove Telephone Company, Craw-Kan Telephone Cooperative, Inc., Golden Belt
Telephone Association, Inc., Haviland Telephone Company, JBN Telephone Company Inc ., Kan Okla Telephone
Associates, Inc., Madison Telephone Company, Inc., Mokan Dial Inc., Mutual Telephone Company, Peoples
Telecommunications, Inc., Pioneer Telephone Association, Inc., Rainbow Telephone Cooperative Association, Inc., Rural
Telephone Service Company, Inc., S & A Telephone Company, Inc., S & T Telephone Cooperative Association, South
Central Telephone Association, Inc., South Central Telecommunications of Kiowa, Inc., Southern Kansas Telephone
Company, Inc., Sunflower Telephone Company Inc., Tri-County Telephone Association Inc., United Telephone
Association, Inc., Wheat State Telephone Inc., Cunningham Telephone Company, Inc., Columbus Telephone Company,
Gorham Telephone Company, H & B Communications, Inc., Home Telephone Company, Inc., LaHarpe Telephone
Company, Inc., Moundridge Telephone Company, Totah Telephone Company, Incorporated, Twin Valley Telephone, Inc.,
Wamego Telephone Company, Inc., Wilson Telephone Company, Inc., Zenda Telephone Company, Inc., John Wine
Honorable, in his official capacity as a commissioner of the State Corporation Commission of the State of Kansas, Cynthia
Claus, Honorable, in her official capacity as a commissioner of the State of Kansas, Brian J. Moline, Honorable, in his
official capacity as a commissioner of the State Corporation Commission of the State of Kansas. This action is dismissed.




Date:    January 26, 2005                                 RALPH L. DeLOACH, CLERK


                                                 By: s/ Mary E. Hill
Case 5:01-cv-04158-RDR-JPO Document 154 Filed 01/26/05 Page 2 of 2




                                Mary E. Hill, Deputy Clerk
